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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA



GABRIEL RODRIGUEZ,

              Plaintiff,                         CASE NO. 8:06-cv-00545-LSC-FG3

v.                                             JOINT STIPULATION FOR DISMISSAL
                                                        WITH PREJUDICE
ALCAN GLOBAL PHARMACEUTICAL
PACKAGING, INC.,

              Defendant.


       Defendant, Alcan Global Pharmaceutical Packaging, Inc., and Plaintiff, Gabriel

Rodriguez, by and through their respective counsel, hereby stipulate and agree that the

above-captioned lawsuit shall be dismissed with prejudice, each party to bear their own

costs and attorneys' fees.

       WHEREFORE, the parties request that the Court dismiss the suit with prejudice,

each party to bear their own costs and attorneys' fees.

       Dated this 16th day of February, 2007


                                      ALCAN GLOBAL PHARMACEUTICAL
                                      PACKAGING INC., Defendant,



                                      By: s/Christopher R. Hedican
                                          Christopher R. Hedican (NE# 19744)
                                      of  BAIRD HOLM LLP
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                                    and

                                    GABRIEL RODRIGUEZ, Plaintiff,


                                       s/Daniel T. Hoarty___________
                                       Daniel T. Hoarty (NE#23182)
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